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                                                                                                               FILED
AO 91 (Rev. Il/Il) Cnminal Complaint


                                       UNITED STATES DISTRICT COURTCLE                                           U.S.     DIS9T COURT
                                                                 for the                             WESTERN DIST           I            CA8

                                                       Western District of Texas                                                oepuri
                 United States of America                           )
                               v.                                   )
                                                                           CaseNo.     DT_2L_n/1-)L422(;f)
                   Michael Lane HAYES
                                                                    )

                                                                    )

                                                                    )
                          Defendant(s)



                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
     or about the date(s) of               May 16, 2024                 in the county of           Maverick                     in the
On
      Western          District of             Texas            , the defendant(s) violated:


             Code Section                                                    Offense Description
18 U.S.C. 922(g)(1)                             Felon In posseslon of a firearm.




          This criminal complaint is based on these facts:
HAYES is a convicted felon and was in posseslon of two firearms that were manufactured outside of the state of Texas.




             Continued on the attached sheet.


                                                                                   I
                                                                                               Complainant    s/gnaturti


                                                                                               Manuel Ruiz IFO ATF
                                                                                                Printed ,a:ne and title


Sworn to before me and signed in my presence.


Date:            05/16/2024


City and state:                          Del Rio, Texas                                        Watters, U.S. Magistrate Judge
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                                                                           1-2q-ni -i 226)




                           UNITED STATES DISTRICT COURT

                             WESTERN DISTRICT OF TEXAS

                                    DEL RIO DIVISION



                 AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT



I, ATF TFO Manuel Ruiz, being duly sworn do hereby depose and state:




   1.   Your Affiant is currently employed as a Task Force Officer with the Bureau of Alcohol,
        Tobacco, Firearms, and Explosives (ATF) since March 2024 and is currently assigned to
        the Del Rio Satellite Office. Prior to March 2024, your Affiant was employed as a Border
        Patrol Agent working for an Anti-Smuggling Unit in Del Rio, Texas for six years. Your
        Affiant has a combined total of approximately six years oflaw enforcementexperience and
        training with experience in investigations concerning violations of Title 18.

   2; On May 16, 2024, Texas Department of Public Safety executed a state arrest warrant on
        Michael Lane HAYES to be followed by a state residential search warrant at his house,
        located at 21437 FM 1021 El Indio, Texas 78860.

   3. Prior to the execution of the search warrant, ATF Special Agents received consent from
      HAYES to search the property. During this conversation HAYES advised there was a
      firearm inside the residence, of which he was sole occupant.

   4. A consented search of the residence revealed a Smith and Wesson SD4O yE, 9mm pistol,
      with serial number FZS9228 next to HAYES' bed, and a Hatfield, SGL, 410 shotgun
      with serial number 410S17-005228 in an adjacent room.

   5. A criminal history inquire of HAYES revealed that he was convicted of felony Forgery
      on 05/23/2006 in Sabine, LA, for which he was sentenced to eight years in prison,
      making him prohibited from possessing firearms.

   6. During a post Miranda interview, HAYES admitted to possessing both firearms, claiming
      that he and his ex-wife purchased the firearms in approximately 2017, and he now uses
        them for personal protection.

   7. An Interstate Nexus examination was completed which determined both firearms were
        manufactured outside the state of Texas.
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                                                                              Ja-2L--




  8. Based on the above facts, your aftiant believes there is probable cause that Michael
                                                                                           Lane
     HAYES, committed the offense      of felon  in possession  of a firearm, in violation of 18

     U.S.C. § 922()(1).




                                           IF   ATF Manuel Ruiz

                                           Bureau of Alcohol, Tobacco, Firearms, and
                                           Explosives




SUBSCRIBED AND SWORN TO ME THIS 16TH DAY OF MAY 2024.
